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Steven Zinnel, #66138-097— 2 F | L E D

Federal Correctional Institution

“FPC Sheridan
P.O. Box 6000 co . oo. NOV 02 2021
Sheridan, OR 97378-6000 . CLERK
EAST K, U.S ISTRICT
ERN ast TRIG OF CALiON A
Defendant in Pro Se . DEPUTY CER
[N THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, Case No.: 2:21-mc-00143-TLN- AC
+ ae Criminal Case No.: 2:1 t-cr-00234-TLN
Plaintiff,
; STEVEN ZINNEL’S
ve * NOTICE OF APPEAL;
STEVEN ZINNEL,

MOTION FOR APPOINTED COUNSEL;

Defendant and Judgment Debtor. MOTION FOR WAIVER OF APPEAL

FILING FEE

DAVID ZINNEL, SUCCESSOR TRUSTEE
OF THE CASTANA TRUST, DATED
MARCH 4, 2009,

Garnishee.

Notice is. hereby given that STEVEN ZINNEL, the defendant and

United States Court of Appeals for the Ninth Circuit from the Order
made by Judge Troy L. Nunley on October 7, 2021, but not entered
in the Court's docket or mailed to “Steven Zinnel until October 13, 2021

and reflected on the Court's docket as ECF no. 55.

‘Defendant Steven Zinnel is indigent and both the District Court

and the Ninth Circuit Court of Appeals have previously authorized

alleged debtor in the above-entitled action, hereby appeals to the =,

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appointed counsel and waiver of costs. Therefore, Steven
Zinnel moves the Court for (1) the appointment of counsel on
appeal and (2) waiver of appeal filing fee.

Defendant Steven Zinnel has been incarcerated for over
eight (8) long and unjust years. Since the pendency of this
case, Zinnel has been incarcerated in federal prison at
FPC Sheridan, Oregon.

Steven Zinnel hereby gives notice and represents that
he did not receive the Court's October 7, 2021 order, not
mailed to Steven Zinnel until October 13, 2021, ECF #55,
until October 22, 2021; a delay of fifteen (15) days.
Further, Judge Troy L. Nunley's Order states that "Trustee
David Zinnel has filed timely objections to the findings
and recommendations. (ECF No. 52.) Steven Zinnel hereby
gives notice and represents that he did not receive David
Zinnel's "Objections," ECF # 52 and the first time Zinnel
became aware of the filed objections was when Zinnel read
Judge Nunley's October 7, 2021 Order on october 22, 2021.

Since the pendency of this case, Zinnel has notified
the Court and Plaintiff's counsel many times of the massive
problem of delay and obstruction of United States Mail
delivery to inmates at FPC Sheridan and Zinnel's continued
prejudice as a result in this garnishment case: ECF nos.
19, 26, 28, 37, and 54. The delay and obstruction of
U.S. Mail is so bad, on July 6, 2021, Zinnel filed a Notice
of Appeal giving notice that he manifested his intent to

appeal from the district court's final judgment in this case

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and any appealable order in this case. (see ECF #29).

Steven Zinnel Dated: roles [x
t

CERTIFICATION OF SERVICE

I hereby certify that at the time of service, I was

over the age of 18. I further certify that on tol2s/2,
p——4 54

I served a true and correct copy of the foregoing on:

AUSA Lynn Trinka Ernce K. Greg Peterson

AUSA Kurt A. Didier L/O of K. Greg Peterson

U.S. Attorney's Office, ED CA 455 Capitol Mall, Suite 325.
501 I Street, Suite 10-100 Sacramento, CA 95814

Sacramento, CA 95814
Attorney for Trustee

Attorney for Plaintiff David Zinnel
by United States Mail, in a sealed envelope with the
postage thereon fully prepaid, and then depositing the
foregoing with prison authorities at FPC Sheridan, 27072
Ballston Road, Sheridan, OR 97378.

Under the "mailbox rule," when a pro se prisoner gives
prison authorities a pleading to mail to a court, the court

deems the pleading constructively "filed" on the date it

is signed. Robert v. Marshall, 627 F.3d 768, 770 n.1

(9th Cir.. 2010); Houston v. Lack, 487 U.S. 266, 270-271.

108 S.Ct. 2379, 101 L.Ed. 2d 245 (1988).
I certify under penalty of perjury under the laws of
the United States of America that the foregoing is true

and corrgct.

Steven Zinnel Dated: tol» [2

